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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-266-03 WBS
12                               Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           [PROPOSED] FINDINGS AND ORDER
14   JOSHUA BILAL GEROGE,                               DATE: April 13, 2020
                                                        TIME: 9:00 a.m.
15                               Defendant.             COURT: Hon. William B. Shubb
16

17                                            STIPULATION

18          1.     On January 27, 2020, the Court held a status conference for the government and

19 Defendant Joshua Bilal George (“the defendant”) (collectively, “the parties”). Defense counsel

20 requested briefing and hearing schedules for a discovery motion and one or more suppression motions.
21 The government did not object to the proposed schedule. Accordingly, the Court ordered a hearing date

22 of February 18, 2020, for the defendant’s anticipated discovery motion and a hearing date of April 13,

23 2020, for the defendant’s anticipated suppression motion, as well as briefing deadlines. ECF 101. The

24 parties also requested exclusion of time under the Speedy Trial Act for the time period of January 27,

25 2020, through April 13, 2020, pursuant to at least Local Code T4. The Court found that an exclusion of

26 time was appropriate and requested that the government prepare a stipulation and proposed order. Id.
27          2.     The parties agree and stipulate, and request that the Court find the following:

28                 a)      The government has represented that the discovery associated with this case


      STIPULATION REGARDING EXCLUDABLE TIME             1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1         includes over 50 GB of electronic documents including well over 10,000 of pages of report on

 2         investigation, search warrant returns, subpoena returns, cellphone extractions, audio/video files,

 3         photographs, and bank/financial records. All of this discovery has been either produced directly

 4         to counsel and/or made available for inspection and copying.

 5                b)      Counsel for defendant desires additional time to review the current charges,

 6         review discovery, conduct research and investigation into the charges and alleged acts, consult

 7         with their clients, and otherwise prepare for trial. Counsel for defendant also desires additional

 8         time to brief and argue the above-described pretrial motions.

 9                c)      At this time, the defendant has no objection to Court’s above-described hearing

10         schedule and agrees that such a continuance and schedule are necessary for effective preparation

11         as outlined below.

12                d)      Counsel for defendant believe that the Court’s briefing and hearing schedule will

13         provide them reasonable time necessary for effective preparation and filing of pretrial motions,

14         taking into account the exercise of due diligence.

15                e)      The government does not object to above-described briefing and hearing

16         schedule.

17                f)      Based on the above-stated findings, the ends of justice served by continuing the

18         case as described above outweigh the interest of the public and the defendant in a trial within the

19         original date prescribed by the Speedy Trial Act.

20                g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

21         et seq., within which trial must commence, the time period of January 27, 2020, to April 13,

22         2020 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), (h)(1)(D), and B(iv)

23         [Local Codes E and T4] because it results from a continuance and pretrial motions schedule

24         ordered by the Court and agreed to and requested by the defendant, and on the basis of the

25         Court’s finding that the ends of justice served by taking such action outweigh the best interest of

26         the public and the defendant in a speedy trial.

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      STIPULATION REGARDING EXCLUDABLE TIME             2
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1          3.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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 6
     Dated: January 29, 2020                                 MCGREGOR W. SCOTT
 7                                                           United States Attorney
 8
                                                             /s/ ROBERT J. ARTUZ
 9                                                           ROBERT J. ARTUZ
                                                             Special Assistant U.S. Attorney
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11
     Dated: January 29, 2020                                 /s/ JEREMY DELICINO (with permission)
12                                                           JEREMY DELICINO
                                                             Counsel for Defendant
13                                                           JOSHUA BILAL GEORGE
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16                                         FINDINGS AND ORDER
17          IT IS SO FOUND AND ORDERED.
18          Dated: January 30, 2020
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      STIPULATION REGARDING EXCLUDABLE TIME              3
30    PERIODS UNDER SPEEDY TRIAL ACT
